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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
CHARLESTON

CHARLOTTE SUMMERS,
Plaintiff,

Vv. CIVIL ACTION NO.: 2:22-cv-00148
HONORABLE IRENE C. BERGER

WEST VIRGINIA DEPARTMENT OF
HOMELAND SECURITY; WEST
VIRGINIA STATE POLICE and R.
LINDSEY, Trooper West Virginia State
Police,

Defendants.

CERTIFICATE OF SERVICE

| hereby certify that on the 22 day of June 2022 , | electronically filed the foregoing
Certificate of Service noticing filing of Defendants’ Rule 26(a)(1) Disclosures with the
Clerk of the Court using the CM/ECF system which will send notification of such to
counsel of record. A complete copy of the same as been mailed to:

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/s/ Wendy E. Greve _
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